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United States District Court
District of Massachusetts

Elisabeth Kimmel,
Petitioner,

Criminal Action No.
19-10080-NMG-13

Vv.
United States of America,

Respondent.

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MEMORANDUM & ORDER
GORTON, J.

In this case, petitioner Elizabeth Kimmel (“petitioner” or
“Kimmel”) challenges the validity of her 2019 conviction in this
Court. Pending before the Court is petitioner’s motion to
vacate pursuant to 28 U.S.C. § 2255.

I. Background

In January, 2020, Kimmel was indicted forconspiracy to
commit mail and wire fraud and honest services mail and wire
fraud (Count One) and conspiracy to commit federal programs
bribery (Count Two). The charges arose from an alleged
conspiracy in which Kimmel worked with purported college
counselor William “Rick” Singer (“Singer”) to enable her

children fraudulently to obtain admission to Georgetown
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University (“Georgetown”) and the University of Southern
California (“USC”), respectively.

According to the presentence report (“PSR”), Kimmel paid
Singer over $500,000 in the form of “donations” to Singer’s sham
charity. In exchange, Singer facilitated admission of Kimmel’s
otherwise underqualified children through the so-called “side
door” of athletic recruitment. Her children did not
competitively compete in the sports for which they were
purportedly recruited. Nonetheless, Kimmel’s children were,
respectively, presented to the Georgetown and USC admissions
committees as recruited athletes and were admitted to those
colleges on that basis. Had it not been for the fraudulent
representations, it is unlikely they would have been admitted to
their colleges of choice.

After her indictment, Kimmel moved to dismiss Count One
contending, as she does now, that admissions slots are not
property cognizable under the wire and mail fraud statutes. The
Court denied that motion.

In August, 2021, Kimmel and the government entered into a
binding plea agreement pursuant to Fed. R. Crim. P. 11(c) (1) (C)
(“C plea”). Under the C plea, the government agreed to dismiss
Count Two, federal programs bribery, in return for entry of a
guilty plea on Count One by Kimmel and waiver of her rights to

direct appeal and to collaterally attack her sentence. The

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parties jointly recommended a sentence of six weeks of
incarceration, 12 months of home detention, one year of
supervised release, a $250,000 fine and 500 hours of community
service.

Shortly thereafter, Kimmel participated in a Rule 11
colloquy and pled guilty to Count One. At her sentencing
hearing, in December, 2021, the Court accepted the C-plea and
the agreed upon sentence was imposed accordingly.

II. Discussion

A. Legal Standard

Section 2255 enables a prisoner in custody to file a
petition to vacate, set aside or correct the sentence in the
court that imposed the sentence if it was 1) in violation of the
Constitution or laws of the United States or entered by a court
that lacked jurisdiction, 2) in excess of the maximum authorized
by law or 3) imposed under circumstances otherwise subject to

collateral attack. 28 U.S.C. §2255(a); David v. United States,

134 F.3d 470, 474 (lst Cir. 1998). The petitioner bears the
burden of establishing the need for relief in each of those
circumstances. David, 134 F.3d at 474. To be entitled to relief
under §2255, the petitioner must present “exceptional
circumstances” that make the need for redress “evident.” Id.

(citing Hill v. United States, 368 U.S. 424, 428 (1962)).

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A petitioner generally may not bring a §2255 petition where
he or she has waived the right to collaterally attack the
sentence in a plea agreement. Plea agreement provisions waiving
rights to collateral attack are considered “presumptively valid”
so long as

(1) the plea agreement clearly outlined the waiver,

(2) the Court inquired as to the defendant’s
understanding of the right(s) he or she was
waiving, and

(3) enforcement of the waiver would not constitute a

miscarriage of justice.

United States v. DeFronzo, 81 F. Supp. 3d 243, 246 (D. Mass.

2017) (citing United States v. Teeter, 257 F.3d 14, 25-26 {1st

Cir. 2001)).

B. Application

Kimmel now comes before the Court arguing that her conduct
does not constitute fraud within the meaning of the federal
fraud statutes and that her sentence must therefore be vacated
because it constitutes punishment for “an act that the law does

not make criminal.” Davis v. United States, 417 U.S. 333, 346

(1974). Specifically, Petitioner asserts that she was
erroneously convicted under the “right to control” theory of
fraud, which the Supreme Court invalidated in its 2023 decision

Ciminelli v. United States, 598 U.S. 306, 143 S. Ct. 1121

(2023). Under the “right-to-control” theory of fraud,

a defendant is guilty of [] fraud if he schemes to
deprive a victim of potentially valuable economic

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information necessary to make discretionary economic
decisions.

Id. at 308 (quoting United States v. Percoco, 13 F.4th 158, 170

(2d Cir. 2021) (quotation marks omitted). The Supreme Court held
that the “right to control valuable economic information” is not
a “traditional property interest” covered by the fraud statutes.
Ciminelli, 598 U.S. at 309.

Petitioner now claims that her conviction is based on the
same

fundamental legal mistake [that] the “right to
control” college admissions constitutes a “property”
interest of the college.
She argues that her resulting plea agreement, and the collateral
attack waiver therein, are invalid because neither she nor the
Court “correctly understood the essential elements of the crime”
and therefore she did not enter her plea knowingly.

Her claim is mistaken. Petitioner’s conduct was, and
continues to be, a flagrant violation of the federal fraud
statutes for which she was properly convicted and sentenced.
Kimmel’s conviction did not rest exclusively on the “right to
control” theory, i.e., that she deprived the universities of
information necessary to make discretionary admissions
decisions. The government also charged Kimmel with depriving

each university of a traditional property interest: a highly-

coveted admissions slot.
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The fact that the charge against Kimmel rested upon those
two independent theories of fraud - both traditional property
fraud and deprivation of “the right to control” - was made
explicit several times over throughout this case. The two
theories were articulated in the terms of the indictment, in
this Court’s order denying her motion to dismiss the indictment,
in the colloguy at petitioner’s Rule 11 hearing, and in the

First Circuit Court of Appeals opinion in United States v.

Abdelaziz, 68 F.4th 1 (lst Cir. 2023).
First, the indictment expressly stated that petitioner
conspired with others to

devise a scheme and artifice to defraud and to obtain
money and property, to wit, . . . admission to the
Universities

Second, this Court denied defendants’ motion to dismiss the
indictment by holding both that the decision to grant admission
“is an asset of the university subject to its control,” and that

[alpplication slots to universities are property
interests owned by the universities cognizable under

the mail and wire fraud statutes.

United States v. Sidoo, 468 F. Supp. 3d 428, 441 (D. Mass.

2020). In other words, this Court concluded that both theories

of fraud were valid.
Third, at defendant’s Rule 11 hearing, this Court prompted

the government to state the facts that would have been proven at

trial had petitioner not pled guilty. Petitioner specifically

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agreed with the government’s recitation of the facts, which

included:
[A]t Georgetown and USC, admission spots, the
determination of which students to admit, and the
resulting composition of undergraduate classes are
assets of the university.

The facts recited at the Rule 11 hearing matched the decision of

this Court: that both control over admissions decisions and the

admissions spots themselves were assets, i.e., property, of the

universities.

Years later, two of Kimmel’s co-defendants appealed their
convictions up to the First Circuit Court of Appeals to
challenge the theory of fraud on which their convictions rested:
that admissions slots are traditional property interests.
Abdelaziz, 68 F.4th at 12 (“[Defendants] argue that the property
fraud theory is invalid because admissions slots are not
property ... .”).

In essence, since the filing of the indictment, Kimmel has
been on notice that her crimes rested on two independent
theories: 1) that she deprived the universities of the right to
control their admissions decisions through fraud, and 2) that
she deprived the universities of traditional property, in the
form of admissions slots, through fraud. The Supreme Court’s
decision in Cimineli did nothing to undermine the latter theory.

Her conviction stands.
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Kimmel is separately barred from pursuing the instant
challenge by the provision in her C plea agreement waiving her
rights to appeal or collaterally attack her conviction and
sentence,

Her conviction does not rest on any “fundamental legal
mistake” as to the nature of the charge or the elements of
fraud. Kimmel, a trained lawyer in her own right, entered into
her plea agreement knowingly and voluntarily, only after losing
a battle to dismiss the indictment on many of the same grounds
she now raises in the instant petition. No “miscarriage of
justice” will result from the rightful enforcement of the

collateral attack waiver in Kimmel’s plea agreement.

ORDER
For the foregoing reasons, the motion of petitioner,
Elisabeth Kimmel, to vacate her sentence under 28 U.S.C. § 2255
(Docket No. 2749) is DENIED.

So ordered.

VD idl MAE,

Nathaniel M. Gorton
United States District Judge

Dated: December Sl, 2024
